
ORDER
A majority of the judges assigned to this matter grant rehearing in order to consider issues raised in the application for rehearing filed by intervenor-appellant, Lambert:
Having granted rehearing, reviewed all briefs submitted in this matter and considered all the issues now before us, the said majority concludes that no further argument nor briefs are required for them to reach the subsequent decision appearing to them to be dictated by the facts and the law to follow this step; and so concluding:
We hereby order that the appeal in this case be and it is hereby reinstated; and the right of all parties to file briefs relative to the appeal, and, in due course, to engage in oral argument with regard thereto is also reinstated.
REDMANN, J., dissents and assigns written reason.
